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  IN THE UNITED STATES DISTRICT COURT
  EASTERN DISTRICT OF NEW YORK

  MARIA SUAREZ,

                    Plaintiff,

              v.

  SOUTHERN GLAZER’S WINE AND SPIRITS OF         Case No. 2:19-cv-07271-GRB-LGD
  NEW YORK, LLC,

                    Defendant.




                  STATEMENT OF MATERIAL FACTS IN SUPPORT
               OF DEFENDANT’S MOTION FOR SUMMARY JUDGMENT




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  Background on SGWS

         1.      Southern Glazer’s Wine and Spirits, LLC is a wholesale distributor of spirits, beer,

  wine, and related products. Southern Glazer’s Wine and Spirits, LLC is headquartered in Miami,

  Florida, and maintains two primary distribution warehouses in New York: one in Syosset and

  another upstate in Syracuse. See Declaration of Elizabeth Toohig (“Toohig” Decl.), ¶ 2.

         2.      On July 1, 2016, Southern Wine & Spirits of America, Inc. and Glazer’s Inc.

  completed a transaction to form Southern Glazer’s Wine and Spirits, LLC. See Toohig Decl., ¶ 3.

         3.      Southern Glazer’s Wine and Spirits, LLC is the parent company of Defendant

  Southern Glazer’s Wine and Spirits of New York, LLC (hereinafter “SGWS”). See Toohig Decl.,

  ¶ 4.

         4.      SGWS is an equal opportunity employer and takes discrimination and retaliation,

  and allegations thereof, seriously. SGWS maintains policies prohibiting discrimination and

  retaliation in employment. See Employee Handbook (attached as Exhibit 1 to the Declaration of

  Anjanette Cabrera (“Cabrera Decl.”)).

  Background on Suarez’s Employment with SGWS

         5.      Plaintiff Maria Suarez (“Suarez”) began working for SGWS in December 2004 as

  an administrative assistant in the payroll department. See Deposition Transcript of Maria Suarez

  (“Suarez Dep.”) at 17:10-21 (attached as Exhibit 19 to Cabrera Decl.).

         6.      In 2007, Suarez was promoted to Inventory Supervisor, later retitled Inventory

  Control Manager, in the company’s Syosset warehouse. See Personnel Action Notice dated

  October 10, 2007 (attached as Exhibit 2 to the Cabrera Decl.); and Suarez Dep. at 21:13-19

  (attached as Exhibit 19 to Cabrera Decl.).



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             7.       She initially supervised one Inventory Control (“IC”) Clerk, 1 Josianne Sajous

  (“Sajous”). In January 2008, two additional IC Clerks joined the department, and Suarez hired an

  IC Clerk in February 2009. Since that time, Suarez supervised between three and four full-time IC

  Clerks while in the position of Inventory Supervisor/IC Manager and continuing in her new role

  as WMI Administrator (explained further below). See Suarez Dep. at 22:11-17; 26:5-10; 28:7-20

  (attached as Exhibit 19 to Cabrera Decl.); Deposition Transcript of Roy Kohn (“Kohn Dep.”) at

  30:17-20 (attached as Exhibit 14 to Cabrera Decl.); and Deposition Transcript of Barry Finkelstein

  (“Finkelstein Dep.”) at 14:9-23 (attached as Exhibit 18 to Cabrera Decl.).

             8.       Throughout her tenure supervising the IC department, Suarez’s manager, John

  Wilkinson (“Wilkinson”),2 rated Suarez as only an average “Performer” in her performance

  reviews. See Performance Evaluations (attached as Exhibit 3 to the Cabrera Decl.).

             9.       Wilkinson acknowledged Suarez’s work ethic, but noted areas for improvement. In

  particular, Wilkinson said Suarez needed to improve her communication skills and ability to

  collaborate with other departments in the company and other functions in the warehouse; to keep

  an open mind and be able to recognize the limits of her knowledge and identify when to ask for

  help, rather than allowing her ego or stubbornness to get in the way of efficiency and success; to

  improve her problem-solving skills; and to take more personal accountability for errors made by

  her and her team. See Performance Evaluations (attached as Exhibit 3 to the Cabrera Decl.).




  1
      IC Clerks may also be referred to as cycle counters.
  2
      Wilkinson passed away in or around 2019. See Roy Dep. at 176:16-17 (attached as Exhibit 14 to the Cabrera Decl.).



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         10.     Despite identifying these issues and working with Suarez to improve them, year

  after year, the same concerns were raised with Suarez in her evaluations. See Performance

  Evaluations (attached as Exhibit 3 to the Cabrera Decl.).

         11.     Suarez admittedly never disputed her performance evaluations. See Suarez Dep. at

  42:13-17 (attached as Exhibit 19 to Cabrera Decl.).

  SGWS’ Implementation of WMI Program

         12.     In early 2016, SGWS began implementing a new warehouse management system

  in the Syosset distribution warehouse.       The system, Warehouse Management Information

  (“WMI”), had been implemented in several other warehouse locations by SGWS, including in

  Syracuse. See Deposition Transcript of Kevin Randall (“Randall Dep.”) at 41:17-24 (attached as

  Exhibit 15 to Cabrera Decl.).

         13.     On March 3, 2016, Suarez voluntarily applied for the WMI Administrator position,

  which was offered to her on May 4 and which she started on May 9. See WMI Administrator Offer

  History and Offer Letter (attached as Exhibit 4 to the Cabrera Decl.); and WMI Administrator

  History and Job Description (attached as Exhibit 5 to the Cabrera Decl.).

         14.     The WMI Administrator’s job functions were critical to SGWS’ business because

  without proper inventory the company could not supply to its customers and upside-down

  inventory would negatively affect the company’s financials. See Randall Dep. at 80:14-81:9

  (attached as Exhibit 15 to Cabrera Decl.).

         15.     Kevin Randall (“Randall”) was the hiring manager for the WMI Administrator

  position that was offered to Suarez.         See SGWS’ Responses to Plaintiff’s First Set of




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  Interrogatories, at Response No. 11 (attached as Exhibit 13 to the Cabrera Decl.); and Randall Dep.

  at 62:4-6 (attached as Exhibit 15 to the Cabrera Decl.).

         16.     Randall selected Suarez for this position because she “was [the] best fit for the

  inventory control counting piece where she had been placed.” See Randall Dep. at 62:7-25; 63:2-

  8 (attached as Exhibit 15 to the Cabrera Decl.). Randall believed Suarez “was the most qualified

  person for this job” because “[s]he worked in the warehouse every day alongside of all of those

  people and her team and nothing in this new [WMI] world was going to change. That was all

  going to stay the same. It was just how [SGWS] reported to accounting and to corporate in [its]

  results…” See Randall Dep. at 82:19-83:7 (attached as Exhibit 15 to the Cabrera Decl.).

         17.     In this new position, not only did Suarez enjoy an increased salary of $75,000, she

  also increased her supervisory responsibilities when an additional IC Clerk was hired and added

  to her team at her request. See WMI Administrator Offer History and Offer Letter (attached as

  Exhibit 4 to the Cabrera Decl.); and Kohn Dep. at 90:13-15 (attached as Exhibit 14 to Cabrera

  Decl.) (stating that “[w]ith the [WMI] role came a pay increase; it came with more responsibility.

  She was given an additional cycle counter…”).

         18.     Suarez continued to report to the same manager, Wilkinson, and perform the same

  duties as in her prior position. See WMI Administrator History and Job Description (attached as

  Exhibit 5 to the Cabrera Decl.); Randall Dep. at 38:11-25 (attached as Exhibit 15 to Cabrera Decl.);

  Suarez Dep. at 66:6-8 (attached as Exhibit 19 to Cabrera Decl.) (admitting that Wilkinson

  remained her manager); and Kohn Dep. at 89:7-11 (attached as Exhibit 14 to the Cabrera Decl.)

  (“The tasks involved in this WMI role were identical [to the former Inventory Control Manager




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  role] with the exception of the scanning versus the manual application of the perpetual inventory

  from the past”).

         19.     The only duty that changed for Suarez and the rest of the IC department was that

  they were no longer required to manually count inventory due to the introduction of the WMI

  electronic scanner guns, which made the IC process much more efficient. See WMI Administrator

  History and Job Description (attached as Exhibit 5 to the Cabrera Decl.); and Kohn Dep. at 92:2-

  7 (attached as Exhibit 14 to the Cabrera Decl.) (“The WMI administrator role differed from her

  pre WMI administrator role mainly by the manner in which she worked and her inventory control

  department worked. They no longer worked with a manual system with pencil and paper. They

  worked with computers.”).

         20.     Suarez continued to direct the work of the IC clerks. See Kohn Dep. at 58:14-18

  (attached as Exhibit 14 to the Cabrera Decl.) (“[Suarez] assigned work to the cycle counters while

  she was the warehouse inventory manager in a manual system and after she became the WMI

  administrator. It was [Suarez’] job to assign work to the counters.”); see also Suarez Dep. at 74:15-

  5 (attached as Exhibit 19 to Cabrera Decl.) (admitting that she made the decision to direct the IC

  Clerks’ work while employed as the WMI Administrator); Deposition Transcript of Melissa

  Johnson (“Johnson Dep.”) at 8:19-23 (attached as Exhibit 16 to Cabrera Decl.) (duties of the WMI

  Administrator were “[t]o ensure that the system was correct at all times and to direct the cycle

  counters to their job duties each day.”); and WMI Administrator History and Job Description

  (attached as Exhibit 5 to the Cabrera Decl.) (stating that the WMI Administrator is to “Provide

  Leadership...”).




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         21.      Suarez also applied for a position as WMI Inventory Control Manager. SGWS

  hired Tonisha Durant (“Durant”) for the WMI Inventory Control Manager position on May 4,

  2016. See WMI Inventory Control Manager History (attached as Exhibit 12 to the Cabrera Decl.).

  Randall selected Durant for this position because it was within the accounting department and

  Durant’s previous position was also in the accounting department. Durant was the best fit and

  most qualified for this position. See Randall Dep. at 62:7-63:8 (attached as Exhibit 15 to the

  Cabrera Decl.). Durant’s role “did not change. Her role came from the accounting [department]

  where she used to work and she applied to this position to become the Inventory Control Manager.

  She is the communicator between the accounting and the warehouse. She remained that constant.”

  See Randall Dep. at 75:9-19 (attached as Exhibit 15 to the Cabrera Decl.).

  Suarez’ Job Duties and Responsibilities

         22.      Suarez was classified as an exempt employee. See Randall Dep. at 68:23-25

  (attached as Exhibit 15 to the Cabrera Decl.).

         23.      During the relevant time period, Suarez’ salary was as follows:

               a. 2011: Supervisor, Inventory Control ($61,305)

               b. 2012: Inventory Control Manager ($63,385)

               c. 2013: Inventory Control Manager ($66,555)

               d. 2014: Inventory Control Manager ($68,635)

               e. 2015: Inventory Control Manager ($70,715)

               f. 2016: Inventory Control Manager ($72,130)  WMI Administrator ($75,000)

               g. 2017: WMI Administrator ($75,000)

  See Payroll Records (attached as Exhibit 23 to the Cabrera Decl.).

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         24.     As WMI Administrator, Suarez was responsible for configuring, operating,

  overseeing, and analyzing the WMI to achieve project objectives; ensuring smooth start-up and

  transition by providing leadership and training to IC clerks; and driving the WMI application

  process. See WMI Administrator Job Description (attached as Exhibit 5 to the Cabrera Decl.).

         25.     After the transition to the WMI, Suarez was still responsible for directing the work

  of the IC clerks. See WMI Administrator Job Description (attached as Exhibit 5 to the Cabrera

  Decl.); and Randall Dep. at 63:9-24 (attached as Exhibit 15 to the Cabrera Decl.); and Kohn Dep.

  at 30:14-17 (attached as Exhibit 14 to the Cabrera Decl.) (“Don’t be misled by the title of [WMI]

  administrator. The inventory control clerks reported through [Suarez]. Her voice was heard when

  she talked about them.”).

         26.     As WMI Administrator, Suarez continued to have influence on evaluating how IC

  clerks performed their jobs and decisions on changes in their status. The only thing that changed

  from her prior job as Inventory Control Manager was the use of the WMI. See Randall Dep. at

  63:9-24 (attached as Exhibit 15 to the Cabrera Decl.); and Kohn Dep. at 34:14-18; 36:15-23; 37:2-

  5 (attached as Exhibit 14 to the Cabrera Decl.) (Suarez “managed the inventory control department,

  a recognized department. Her voice was heard and respected if she made recommendations for

  discipline and this group of inventory and cycle counters reported to her. She was responsible for

  them” and Suarez “asked for an additional cycle counter at one point” approximately one year to

  18 months prior to her department (Fall 2016), and “Wilkinson agreed to hire an additional cycle

  counter.”).




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            27.   Suarez continued to have supervisory authority over the IC clerks until she

  separated from SGWS. See Randall Dep. at 67:24-68:3 (attached as Exhibit 15 to the Cabrera

  Decl.).

            28.   Per the job description for the WMI Administrator position, Suarez had discretion

  over her responsibilities of strategy, execution, and building capabilities. For instance, with respect

  to strategy, Suarez had discretion over identifying operational opportunities to improve

  organizational efficiencies. See WMI Administrator Job Description (attached as Exhibit 5 to the

  Cabrera Decl.).

            29.   Suarez exercised discretion and independent judgment over her strategy, execution,

  and building capabilities responsibilities as WMI Administrator. For example, with respect to

  execution, Suarez had discretion and independent judgment over implementing operations to

  ensure continuous improvement measures and initiatives. See Kohn Dep. at 95:4-96:7 (attached

  as Exhibit 14 to the Cabrera Decl.) (explaining Suarez’s discretion with regard to different

  variances with the WMI program): and Finkelstein Dep. at 41-44; 47:6-15 (attached as Exhibit 18

  to Cabrera Decl.) (explaining WMI Administrator’s responsibilities regarding analyzing inventory

  reports).

            30.   Suarez performed under only general supervision from Wilkinson her duties in the

  IC department. Those duties involved specialized training, experience, and knowledge of physical

  inventory and inventory control. That was even more so true with the WMI system. See Kohn

  Dep. at 95:4-96:7; 96:15-20 (attached as Exhibit 14 to the Cabrera Decl.) (“I know that when we

  talk about her role as WMI administrator, I think people hear the word administrator. Perhaps you




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   hear administrator as something less than in the management ranks, but it is not. It is someone

   that is administering the inventory and its value.”).

          31.     Suarez was not performing manual work. Her work was clerical in nature. See

   WMI Administrator Job Description (attached as Exhibit 5 to the Cabrera Decl.); Kohn Dep. at

   34:22-23 (attached as Exhibit 14 to the Cabrera Decl.) (Suarez “was more clerical, less physical in

   her function.”); and Randall Dep.at 100:4-101:8 (attached as Exhibit 15 to Cabrera Decl.) (stating

   that Suarez could not perform manual work because this was a unionize work-force and nonunion

   workers were prohibited from performing manual tasks).

          32.     Suarez never disputed her job duties or responsibilities as WMI Administrator

   during her tenure with SGWS. See Johnson Dep. at 79:16-20 (attached as Exhibit 16 to Cabrera

   Decl.); and Deposition Transcript of Tonisha Durant (“Durant Dep.”) at 52:2-9 (attached as Exhibit

   17 to Cabrera Decl.) (Q: “In the meetings that you had with [Wilkinson] and [Suarez], the one-on-

   one meetings that you were asked about, did [Suarez] ever say these tasks are not in my job

   description?” A: “No.” Q: “Did she ever say to [Wilkinson], Hey, you took away my direct report,

   so I can’t get all of this done?” A: “No.”); and Suarez Dep. at 74:15-5 (attached as Exhibit 19 to

   Cabrera Decl.) (Suarez admitting that she directed the IC Clerks’ work while employed as the

   WMI Administrator).

   SGWS Implements Extensive WMI Training at Syosset Warehouse

          33.     To ensure a smooth transition to WMI and to set employees like Suarez up for

   success, SGWS brought in multiple personnel from other locations where WMI had been

   implemented to help train Syosset personnel on the WMI system. See Kohn Dep. at 29:3-7

   (attached as Exhibit 14 to the Cabrera Decl.) (Suarez “was given an extraordinary amount of


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   attention to help her get through her learning curve and try to find a place that was going to make

   her more functional for the company.”); and Johnson Dep. at 14:1-16:25 (attached as Exhibit 16

   to Cabrera Decl.) (Melissa Johnson assisted with the initial WMI Training which was called “Go

   Live” and was done by the WMI Implementation Team in July 2016).

             34.     Unfortunately, Suarez rejected the assistance provided by the multiple WMI subject

   matter experts the company brought in to assist with the training of and transition to the new

   system, and the performance concerns identified by Wilkinson over the years only worsened once

   Suarez took the role of WMI Administrator. See Kohn Dep. at 29:7-9 (attached as Exhibit 14 to

   the Cabrera Decl.) (Suarez “was belligerent and being quite obstinate in taking advice from the

   experts in the company.”).

             35.     During WMI training, Suarez spent very little time with the training team, and when

   she did, she was obstinate. See August 2016 Email Thread (attached as Exhibit 20 to the Cabrera

   Decl.).

             36.     This continued lack of cooperation and Suarez’s poor attitude led to numerous

   follow-up sessions with multiple trainers, including Melissa Johnson (“Johnson”) from upstate

   New York.3 See Johnson Dep. at 37:4-11 (attached as Exhibit 16 to Cabrera Decl.) (Suarez “came

   to the Syracuse facility to shadow [Johnson] for three days”).

             37.     Johnson noticed that Suarez needed “more knowledge of the [WMI] system” so she

   “created a daily/weekly report of what needed to be done each day and each week.” See Johnson




   3
     At her deposition, Suarez spoke favorably about Johnson. See Suarez Deposition at 52:5-7 (attached as Exhibit 19
   to the Cabrera Decl.) (“Q. And how did you feel about Melissa as a trainer? A. Oh, she is excellent.”). This supports
   SGWS’ claim that it provided Suarez the appropriate level of training on the WMI system and that it wanted Suarez
   to succeed on the transition to this system.



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   Dep. at 40:23-41:8 (attached as Exhibit 16 to Cabrera Decl.); and Daily/Weekly Task Report

   (attached as Exhibit 22 to the Cabrera Decl.).

             38.   However, Suarez still could not understand the WMI system, so Johnson returned

   to train Suarez in Syosset on two more occasions for one week at a time, in October 2016 and

   January 2017, respectively. See Johnson Dep. at 45:12-22 (attached as Exhibit 16 to Cabrera

   Decl.).

             39.   But Suarez began making significant, costly errors almost immediately. For

   instance, she made negative adjustments to inventory without verifying or researching

   discrepancies and without communicating the discrepancies to others. See Kohn Dep. at 104:15-

   18 (attached as Exhibit 14 to the Cabrera Decl.) (Suarez “wrote off things and did not communicate

   them well in excess of $500. There was one particular day she wrote off $1,700,000 and didn’t

   tell anyone and left it alone.”).

             40.   This had a significant impact on the warehouse’s financials and required extensive

   mitigation efforts by other employees. See Kohn Dep. at 104:19-23 (attached as Exhibit 14 to the

   Cabrera Decl.).

             41.   After several significant errors by Suarez, and after several meetings between

   Wilkinson and Suarez, Wilkinson and Vice President of Human Resources Elizabeth Toohig

   (“Toohig”) issued Suarez a WMI Administrator Performance Expectations Memo in September

   2016 to counsel her on the issues that had been identified and to offer additional support and

   training. See September 2016 WMI Administrator Performance Expectations Memo (attached as

   Exhibit 6 to the Cabrera Decl.).




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          42.     To facilitate Suarez’s verification of inventory discrepancies and communication

   of the same, Wilkinson moved Suarez to an office located on the warehouse floor to be closer to

   the inventory and her team. This office was also used by warehouse managers who needed to have

   the same type of oversight during their shifts. See Randall Dep. at 69:21-70:18 (attached as Exhibit

   15 to the Cabrera Decl.).

          43.     But Suarez continued to reject the guidance and instructions from her managers and

   the employees who successfully manage WMI in other SGWS locations. She continued to make

   errors that were costly to the company and increased the workload of multiple employees in the

   IC department and other warehouse functions. Due to her continued and increased performance

   deficiencies, the company placed Suarez on a performance improvement plan (“PIP”) in January

   2017. See January 2017 Performance Improvement Plan (attached as Exhibit 7 to the Cabrera

   Decl.); and January 2017 Email (attached as Exhibit 28 to the Cabrera Decl.).

          44.     Despite the additional training and coaching, Suarez continued to make similar

   errors throughout 2017, resulting in a Final Written Warning in December 2017. See 2016 and

   2017 Performance Reviews (attached as Exhibit 8 to the Cabrera Decl.); and January 2017 Written

   Warning and December 2017 Final Written Warning (attached as Exhibit 9 to the Cabrera Decl.);

   and March 2017 Email (attached as Exhibit 21 to the Cabrera Decl.).

          45.     Before and after issuing the PIPs and warnings to Suarez, Toohig conducted an

   independent investigation into Suarez’ performance, including all attending performance meetings

   between Wilkinson and Suarez, editing the PIPs, and being included on all emails regarding

   Suarez’ performance. See Toohig Decl., ¶ 13; and Toohig Emails (attached as Exhibit 29 to the

   Cabrera Decl.).



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          46.     Toohig also had conversations with Johnson about Suarez’ performance and

   Suarez’ continued need for training on the WMI system. See Toohig Decl., ¶ 14.

          47.     Toohig conducted this independent investigation to make her own determination

   regarding the expectations and whether Suarez’ performance issues were significant enough to

   place her on a PIP. See Toohig Decl., ¶ 15.

          48.     Toohig reviewed all employment issues related to Suarez to ensure that she was

   being treated fairly, that there was no disparate treatment, and to make sure that Suarez was being

   held to an appropriate standard that correlated with her job duties and responsibilities as the WMI

   Administrator. See Toohig Decl., ¶ 16. Toohig sought to ensure that there were no external factors

   influencing employment decisions regarding Suarez. See Toohig Decl., ¶ 17.

          49.     Based on Suarez’ continued performance issues during the relevant time period,

   which were documented on numerous occasions, Toohig believed the PIP and employment

   decisions made regarding Suarez were in line with the needs of the business. See Toohig Decl., ¶

   18.

   SGWS Undergoes Reduction in Force in New York

          50.     In early 2018, SGWS began a national initiative to reduce operating costs by

   increasing efficiency, eliminating positions, and streamlining its processes.         See SGWS’

   Responses to Plaintiff’s First Set of Interrogatories, at Response No. 4 (attached as Exhibit 13 to

   the Cabrera Decl.); Randall Dep. at 51:25-52:5 (attached as Exhibit 15 to the Cabrera Decl.); and

   Kohn Dep. at 141:8-16 (attached as Exhibit 14 to the Cabrera Decl.).

          51.     In April 2018, 26 employees in New York were selected for lay-off as part of the

   program. See NY RIF List (attached as Exhibit 10 to the Cabrera Decl.).


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          52.     5 out of the 26 employees were part of the operations group. See Kohn Dep. at

   141:16-17 (attached as Exhibit 14 to the Cabrera Decl.).

          53.     The selection criteria for the state-wide reduction in force program included job

   performance, position elimination, ability to perform the tasks required of those still employed,

   and suitability for the positions remaining after the reorganization. See SGWS’ Responses to

   Plaintiff’s First Set of Interrogatories, at Response No. 4 (attached as Exhibit 13 to the Cabrera

   Decl.); Randall Dep. at 59:6-11 (attached as Exhibit 15 to the Cabrera Decl.); and Kohn Dep. at

   141:8-142:11 (attached as Exhibit 14 to the Cabrera Decl.).

          54.     The reduction of the 5 operations employees was primarily led by Kevin Randall

   (“Randall”), but he received input from others, including Roy Kohn, then Vice President of

   Operations of New York, Toohig, and Wilkinson. See SGWS’ Responses to Plaintiff’s First Set

   of Interrogatories, at Response No. 15 (attached as Exhibit 13 to the Cabrera Decl.); Randall Dep.

   At 64:24-65:2 (attached as Exhibit 15 to the Cabrera Decl.); and Deposition Transcript of Elizabeth

   Toohig (“Toohig Dep.”) at 21:21-25; 31:2-25 (attached as Exhibit 24 to Cabrera Decl.) (The

   reduction in force “was an intense process, lots of meetings, lots of conversations. We [SGWS]

   don’t take eliminating peoples’ roles lightly. It was a lot of conversations.”).

          55.     Suarez was among those selected for the program based on the foregoing criteria.

   See SGWS’ Responses to Plaintiff’s First Set of Interrogatories, at Response No. 4 (attached as

   Exhibit 13 to the Cabrera Decl.); and Randall Dep. at 59:6-11; 64:13-23 (attached as Exhibit 15 to

   the Cabrera Decl.). Randall also relied upon input from Wilkinson. See Randall Dep. at 65:19-23

   (attached as Exhibit 15 to the Cabrera Decl.); and Kohn Dep. at 156:18-25-7 (attached as Exhibit

   14 to the Cabrera Decl.).



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          56.     In terms of job performance, Suarez had chronic performance issues including

   errors with cycle counting and failure to communicate those errors, and these issues were

   documented over and over again. See January 2017 Performance Improvement Plan (attached as

   Exhibit 7 to the Cabrera Decl.); 2016 and 2017 Performance Reviews (attached as Exhibit 8 to the

   Cabrera Decl.); January 2017 Written Warning and December 2017 Final Written Warning

   (attached as Exhibit 9 to the Cabrera Decl.) and Toohig Emails (attached as Exhibit 29 to the

   Cabrera Decl.).

          57.     She was also obstinate during the WMI training and transition process, which

   likewise was well documented. See August 2016 Email Thread (attached as Exhibit 20 to the

   Cabrera Decl.); Kohn Dep. at 142:7-11 (attached as Exhibit 14 to the Cabrera Decl.) (discussing

   Suarez’ “belligerent difficult attitude with the 40 folks who came to help with the Go Live

   process.”); and Toohig Emails (attached as Exhibit 29 to the Cabrera Decl.).

          58.     In terms of position elimination, SGWS found that there were overlapping job

   functions between the WMI Administrator position (occupied by Suarez) and the WMI Inventory

   Control Manager position (occupied by Durant) and it decided to eliminate the former position.

   The remaining duties were assigned to Finkelstein. See SGWS’ Responses to Plaintiff’s First Set

   of Interrogatories, at Response Nos. 4 and 5 (attached as Exhibit 13 to the Cabrera Decl.); Kohn

   Dep. at 142:2-6 (attached as Exhibit 14 to the Cabrera Decl.) (“Suarez’ work went to Tonisha

   Durant and Barry Finkelstein. It [her position] was not backfilled.”); and Toohig Dep. at 31:13-

   20 (attached as Exhibit 24 to Cabrera Decl.) (reviewing “the job descriptions, where the job

   responsibilities, whether or not they were going to be reassigned to someone else, or whether they

   were actually being eliminated and no longer necessary.”).



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          59.     SGWS terminated Suarez’s employment and eliminated her position, effective

   April 6, 2018. See Termination Letter (attached as Exhibit 11 to the Cabrera Decl.); and SGWS’

   Responses to Plaintiff’s First Set of Interrogatories, at Response No. 4 (attached as Exhibit 13 to

   the Cabrera Decl.).

          60.     SGWS offered Suarez a severance package, but she declined. See Suarez Dep. at

   150:17-21 (attached as Exhibit 19 to Cabrera Decl.).

   Classification of Employees at Syosset Warehouse
          61.     In May 2013, Suarez directed a question to Wilkinson about whether the female IC

   clerks had been improperly classified as clerical employees instead of warehouse employees.

   Wilkinson escalated Suarez’ question to former Associate Director of Human Resources Dina

   Wald Margolis (“Wald Margolis”). See Toohig Dep. at 43:2-44:25 (attached as Exhibit 24 to

   Cabrera Decl.); and Dina Wald Margolis’s Deposition Testimony (“Wald Margolis Dep.”) at 34:2-

   45:25 (attached as Exhibit 27 to the Cabrera Decl.).

          62.     Given Suarez’s managerial authority over the IC Clerks, it was “a legitimate

   question to ask” and “there was nothing inappropriate” about Suarez’s question about employee

   classification. See Toohig Dep. at 45:17-22 (attached as Exhibit 24 to Cabrera Decl.).

          63.     In fact, it was Suarez’s “responsibility” to “identify[] an issue.” See Toohig Dep.

   at 120:3-11 (attached as Exhibit 24 to Cabrera Decl.).

          64.     SGWS investigated the classification and determined that “it had been a clerical

   error.” See Toohig Dep. at 46:2-9 (attached as Exhibit 24 to Cabrera Decl.); and Wald Margolis

   Dep. at 63:21-24 (attached as Exhibit 27 to the Cabrera Decl.) (Wald Margolis did a thorough

   investigation into Suarez’s question).



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          65.     SGWS immediately corrected the clerical issue in the system and all of the IC

   Clerks were classified the same way. See Toohig Dep. at 120:8-15 (attached as Exhibit 24 to

   Cabrera Decl.).

          66.     In connection with these issues, Sajous filed a charge with the Equal Employment

   Opportunity Commission in 2013. After the EEOC dismissed Sajous’ charge based on a no-

   probable cause finding, Sajous filed a lawsuit in January 2015 alleging gender discrimination and

   violations of the Equal Pay Act. See Sajous v. Southern Wine & Spirits of New York, Inc., 15-cv-

   03270-JS-ARL (E.D.N.Y.).

          67.     In October 2016—one month after Suarez received the WMI Administrator

   Performance Expectations Memo—she provided a deposition in the Sajous litigation. See Suarez’

   Deposition Testimony in Sajous Matter (attached as Exhibit 25 to the Cabrera Decl.); and

   September 2016 WMI Administrator Performance Expectations Memo (attached as Exhibit 6 to

   the Cabrera Decl.).

          68.     Suarez testified that it was her personal opinion—not the company’s position—that

   the IC Clerks she supervised should be classified as warehouse workers and that she held this

   opinion simply because “they work in the warehouse.” When Suarez was asked if she believed

   the Union’s reason for denying the IC Clerks the warehouse classification was because they were

   women, Suarez responded “I wouldn’t know.” She confirmed in the Sajous deposition that she

   never participated in any discussions about the reasoning for her department’s classification as

   clerical rather than warehouse and that she never even asked anyone the reason for the

   classification. See Suarez’ Deposition Testimony in Sajous Matter at 19:24-20:23, 46:4-9, 51:2-6,

   61:16-62:25 (attached as Exhibit 25 to the Cabrera Decl.).



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             69.   Suarez also confirmed that the IC department employees were not the only SGWS

   employees who worked in the warehouse who were classified as clerical rather than warehouse

   employees, and that some of those other employees were men). See Suarez’ Deposition Testimony

   in Sajous Matter at 19:24-20:23, 46:4-9, 51:2-6, 61:16-62:25 (attached as Exhibit 25 to the Cabrera

   Decl.).

             70.   Suarez’ testimony was not damaging to SGWS. See Toohig Dep. at 120:3-11

   (attached as Exhibit 24 to Cabrera Decl.) (Q: “Do you believe that [Suarez] was retaliated against

   because the women in her department sued the company?” A: “No.” Q: “What is that opinion

   based upon?” A: “I believe [Suarez] did her responsibility by identifying an issues that we

   [SGWS] immediately corrected. I don’t believe it was [Suarez] fault that [the IC Clerks] sed the

   company.”); and Wald Margolis Dep. at 76:13-77:11 (attached as Exhibit 27 to the Cabrera Decl.)

   (Q: “Did you believe that [Suarez] was to blame for these women believing they were

   discriminated against?” A: “No.” Q: “And do you think that [Suarez] was responsible for the fact

   that these women made claims of discrimination against [SGWS]?” A: “No, I don’t.”).

   Dated: January 3, 2023
                                                        Respectfully submitted,


                                                    By: /s/ Anjanette Cabrera
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                                      CERTIFICATE OF SERVICE

           I, Anjanette Cabrera, certify that the STATEMENT OF UNDISPUTED MATERIAL

   FACTS IN SUPPORT OF DEFENDANT’S MOTION FOR SUMMARY JUDGMENT was

   filed on January 3, 2023, using the Court’s Electronic Case Filing (ECF) system, which will send

   notice of the filing to Plaintiff’s attorney:

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